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 8                            UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                June 2024 Grand Jury

11     UNITED STATES OF AMERICA,              CR No. 24-00483(A)-HDV

12                      Plaintiff,            F I R S T
                                              S U P E R S E D I N G
13                      v.                    I N D I C T M E N T

14     SAMIR OUSMAN ALSHEIKH,                 [18 U.S.C. § 2340A(c):
                                              Conspiracy to Commit Torture;
15                      Defendant.            18 U.S.C. § 2340A(a): Torture;
                                              18 U.S.C. § 1546(a): Fraud and
16                                            Misuse of Visas; 18 U.S.C.
                                              § 1425(a): Attempted Unlawful
17                                            Procurement of Naturalization]

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19          The Grand Jury charges:

20                              INTRODUCTORY ALLEGATIONS

21          At times relevant to this First Superseding Indictment:

22    A.    SYRIA

23          1.      The Syrian Arab Republic (“Syria”) was a country in

24    the Middle East. Damascus was the capital of Syria.

25          2.      Bashar al-Assad was the president of Syria. Bashar al-

26    Assad was the leader of the Syrian Branch of the Arab Socialist

27    Ba’ath Party (“the Syrian Ba’ath Party”), a totalitarian party

28    that dominated the Syrian government. During Bashar al-Assad’s
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 1    presidency, which began in 2000, Syria’s military, domestic

 2    security services, intelligence agencies, and other ministries

 3    attempted to quash opposition to the government, including by

 4    imprisoning political dissidents.

 5    B.    THE DEFENDANT

 6          3.     Defendant SAMIR OUSMAN ALSHEIKH was a Syrian

 7    government official. At times, defendant ALSHEIKH worked for the

 8    Public Security Police, which was under the authority of the

 9    Syrian Interior Ministry. At other times, defendant ALSHEIKH

10    worked for the Political Security Branch, a domestic Syrian

11    intelligence agency focused on countering political dissent.

12    Defendant ALSHEIKH rose to the rank of Brigadier General, a rank

13    that was used in the Syrian Interior Ministry and the Political

14    Security Branch, as well as in the military.

15    C.    ADRA PRISON

16          4.     Damascus Central Prison, which was located in the

17    northeastern suburbs of Damascus near the village of Adra, was

18    known as “Adra Prison.” The Syrian Interior Ministry operated

19    Adra Prison.

20          5.     From in or about 2005 and continuing through in or

21    about 2008, defendant ALSHEIKH was the head of Adra Prison.

22          6.     During the time that defendant ALSHEIKH was the head

23    of Adra Prison, the prison held thousands of prisoners,

24    including both political dissidents and prisoners accused or

25    convicted of various other crimes. Most prisoners were held in

26    above-ground rooms that were shared with numerous other

27    prisoners.

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 1          7.    Adra Prison had a “Punishment Wing,” also known as

 2    Wing 13. Wing 13 included a below-ground section that contained

 3    small isolation cells and a room in which prisoners were

 4    interrogated and tortured. From in or about 2005 and continuing

 5    through in or about 2008, defendant ALSHEIKH ordered prisoners

 6    to Wing 13 to be interrogated and tortured.

 7          8.    Surveillance cameras were located throughout Adra

 8    Prison, including in the Punishment Wing. Defendant ALSHEIKH

 9    monitored the surveillance cameras from his office in the

10    prison.

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 1    D.    DEIR EZ-ZOUR

 2          9.    Following his role as the head of Adra Prison,

 3    defendant ALSHEIKH was appointed governor of the province of

 4    Deir Ez-Zour by Syrian President Bashar al-Assad. The following

 5    photograph depicts defendant ALSHEIKH and Bashar al-Assad on or

 6    about July 25, 2011, when Assad appointed defendant ALSHEIKH

 7    governor of Deir Ez-Zour.

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20    E.    THE DEFENDANT’s IMMIGRATION TO THE UNITED STATES
21          10.   On or about April 19, 2018, defendant ALSHEIKH
22    submitted a DS-260 Immigrant Visa Application to the U.S. State
23    Department, requesting entry into the United States. Defendant
24    ALSHEIKH’s DS-260 Immigrant Visa Application contained
25    materially false information and concealed material information.
26          11.   On or about August 26, 2018, defendant ALSHEIKH
27    falsely stated under oath at the U.S. Embassy in Amman, Jordan,
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 1    that the information in his DS-260 Visa Application was true and

 2    correct.

 3          12.   On or about January 22, 2020, defendant ALSHEIKH again

 4    falsely stated under oath at the U.S. Embassy in Amman, Jordan,

 5    that the information in his DS-260 Visa Application was true and

 6    correct.

 7          13.   On or about January 23, 2020, the U.S. State

 8    Department approved defendant ALSHEIKH’s DS-260 Visa Application

 9    on the basis of the information defendant ALSHEIKH had provided

10    under oath.

11          14.   On or about March 4, 2020, defendant ALSHEIKH used the

12    visa he had unlawfully and fraudulently obtained to unlawfully

13    enter the United States at Los Angeles International Airport,

14    unlawfully become a Lawful Permanent Resident of the United

15    States, and unlawfully become eligible for a Permanent Resident

16    Card (also known as an “Alien Registration Receipt Card” and

17    commonly referred to as a “green card”).

18          15.   On or about March 25, 2020, U.S. Citizenship and

19    Immigration Services issued and mailed to defendant ALSHEIKH a

20    physical copy of his green card.

21    F.    THE DEFENDANT’s APPLICATION TO BECOME A NATURALIZED UNITED
            STATES CITIZEN
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23          16.   On or about January 7, 2023, defendant ALSHEIKH

24    submitted an N-400 Application for Naturalization as a United

25    States citizen. Defendant’s N-400 Application for Naturalization

26    contained materially false information and concealed material

27    information.

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 1                                     COUNT ONE

 2                             [18 U.S.C. § 2340A(c)]

 3          17.   The Grand Jury realleges paragraphs 1 through 16 of

 4    this First Superseding Indictment here.

 5    A.    OBJECT OF THE CONSPIRACY

 6          18.   Beginning in or about 2005 and continuing through in

 7    or about 2008, while outside of the United States in Syria,

 8    defendant SAMIR OUSMAN ALSHEIKH knowingly combined, conspired,

 9    confederated, and agreed with others known and unknown to the

10    Grand Jury, including Syrian government officials, prison

11    officials, and prison guards, to commit torture, in that

12    defendant ALSHEIKH and others conspired to commit acts, under

13    color of law, specifically intended to inflict severe physical

14    and mental pain and suffering, other than pain and suffering

15    incidental to lawful sanctions, upon other persons within

16    defendant ALSHEIKH and his co-conspirators’ custody and control,

17    in violation of Title 18, United States Code, Section 2340A(a).

18          19.   Specifically, the object of the conspiracy was to

19    inflict severe physical and mental pain and suffering to punish

20    political dissidents, and other prisoners who were perceived as

21    sympathizing with the political dissidents, and to deter

22    opposition to the Syrian government led by Bashar al-Assad.

23    B.    MANNER AND MEANS BY WHICH THE OBJECT OF THE CONSPIRACY WAS
            TO BE ACCOMPLISHED
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25          20.   The object of the conspiracy was to be accomplished,

26    in substance, by defendant ALSHEIKH and his co-conspirators

27    sending political dissidents, and other prisoners who were

28    perceived as sympathizing with the political dissidents, to the

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 1    below-ground area of Wing 13 at Adra Prison, knowing that while

 2    there the prisoners would be, among other things:

 3                a.    Squeezed into small isolation cells in which the

 4    prisoners were held for days, sometimes with their hands bound

 5    behind their backs overnight.

 6                b.    Packed together with 10 or more prisoners in

 7    cells in which there was insufficient space for all of the

 8    prisoners to lie down at the same time.

 9                c.    Confined in cells that were infested with lice

10    and other vermin.

11                d.    Forced to live in cells that were very cold in

12    the winter, allowed to wear only minimal or no clothing, and had

13    freezing water poured on them.

14                e.    Provided inadequate and sometimes inedible food.

15                f.    Strapped flat on their backs to a wooden device

16    with hinges in the middle, known by some as the “Flying Carpet”

17    or “Magic Carpet.” After the prisoner was secured to the device,

18    prison guards folded the bottom half of the device on top of the

19    upper half, forcing the prisoner’s body to fold in half at the

20    waist into a position in which the prisoner’s feet were level

21    with his head. This procedure caused excruciating pain, resulted

22    in severe back injuries, and sometimes fractured the prisoner’s

23    spine. When the lower half of the device was folded on top of

24    the upper half, defendant ALSHEIKH, and others known and

25    unknown, sometimes kicked the elevated half of the device,

26    putting additional pressure on the lower half of the prisoner’s

27    body and causing additional pain and further injury.

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 1                g.    Suspended for hours at a time from the ceiling

 2    via metal manacles on each wrist that were attached to a pipe in

 3    the ceiling. The prisoner’s feet would be just off the ground

 4    and his wrists and arms would either be held together above his

 5    head or extended outward in a crucifixion-like position, giving

 6    the prisoner the feeling that his arms were going to be ripped

 7    off. Prison guards sometimes used their fists, wooden or plastic

 8    batons, and cables to beat prisoners while they were suspended.

 9    The cables typically consisted of multiple electric cables woven

10    together into a cord.

11                h.    Fastened to a pulley-like device that stretched

12    the prisoners’ arms and legs. Prison guards sometimes used their

13    fists, wooden or plastic batons, and cables to beat prisoners

14    whose bodies were extended in this position.

15                i.    Beaten with fists, wooden or plastic batons, and

16    cables, sometimes while stuffed into tires to immobilize the

17    prisoner and facilitate the beatings.

18                j.    Shocked with electric prods.

19                k.    Burned with heated metal rods.

20                l.    Denied medical treatment for their injuries.

21                m.    Able to hear and sometimes see other prisoners

22    being tortured.

23                n.    Subjected to the severe mental pain and suffering

24    of fearing when they would be tortured again.

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 1                                      COUNT TWO

 2                            [18 U.S.C. §§ 2340A(a), 2(a)]

 3          21.   The Grand Jury realleges paragraphs 1 through 16 of

 4    this First Superseding Indictment here.

 5          22.   From in or about 2005 and continuing through in or

 6    about 2006, while outside of the United States in Syria,

 7    defendant SAMIR OUSMAN ALSHEIKH, together with others known and

 8    unknown to the Grand Jury, including Syrian government

 9    officials, prison officials and prison guards, each aiding and

10    abetting the others, while specifically intending to inflict

11    severe physical and mental pain and suffering, other than pain

12    and suffering incidental to lawful sanctions, committed,

13    counseled, commanded, induced, and procured the commission of

14    torture, while acting under color of law, namely, by ordering

15    K.A.M., a prisoner in defendant ALSHEIKH’s custody and control,

16    to Wing 13 because K.A.M. had refused to carry out defendant

17    ALSHEIKH’s order to physically harm a political dissident who

18    was imprisoned at Adra Prison, and while in Wing 13, defendant

19    ALSHEIKH, prison officials, and prison guards forcibly folded

20    K.A.M.’s body together on the Flying Carpet, beat K.A.M. while

21    he was suspended from the ceiling for hours at a time in a

22    crucifixion-like position, stomped on and beat K.A.M., poured

23    cold water on K.A.M. when the prison was cold, and confined

24    K.A.M. for extended periods of time in a small isolation cell.

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 1                                  COUNT THREE

 2                       [18 U.S.C. §§ 2340A(a), 2(a)]

 3        23.   The Grand Jury realleges paragraphs 1 through 16 of

 4   this First Superseding Indictment here.

 5        24.   From in or about 2005 and continuing through in or

 6   about 2006, while outside of the United States in Syria,

 7   defendant SAMIR OUSMAN ALSHEIKH, together with others known and

 8   unknown to the Grand Jury, including Syrian government

 9   officials, prison officials, and prison guards, each aiding and

10   abetting the others, while specifically intending to inflict

11   severe physical and mental pain and suffering, other than pain

12   and suffering incidental to lawful sanctions, committed,

13   counseled, commanded, induced, and procured the commission of

14   torture, while acting under color of law, namely, by ordering

15   M.S., a prisoner in defendant ALSHEIKH’s custody and control, to

16   Wing 13 because M.S. had refused to carry out defendant

17   ALSHEIKH’s order to physically harm a political dissident who

18   was imprisoned at Adra Prison, and while in Wing 13, prison

19   officials and prison guards forcibly folded M.S.’s body together

20   on the Flying Carpet, beat M.S. while he was suspended from the

21   ceiling for hours at a time in a crucifixion-like position,

22   poured cold water on M.S. when the prison was cold, confined

23   M.S. for extended periods of time in a small isolation cell, and

24   forced M.S. to sleep in this cell with his hands bound tightly

25   behind his back.

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 1                                  COUNT FOUR

 2                       [18 U.S.C. §§ 2340A(a), 2(a)]

 3        25.   The Grand Jury realleges paragraphs 1 through 16 of

 4   this First Superseding Indictment here.

 5        26.   In or about 2007, while outside of the United States

 6   in Syria, defendant SAMIR OUSMAN ALSHEIKH, together with others

 7   known and unknown to the Grand Jury, including Syrian government

 8   officials, prison officials, and prison guards, each aiding and

 9   abetting the others, while specifically intending to inflict

10   severe physical and mental pain and suffering, other than pain

11   and suffering incidental to lawful sanctions, committed,

12   counseled, commanded, induced, and procured the commission of

13   torture, while acting under color of law, namely, by ordering

14   N.S., a prisoner in defendant ALSHEIKH’s custody and control, to

15   Wing 13 after N.S. attempted to send a letter to a political

16   dissident who was imprisoned in a different wing at Adra Prison

17   that expressed support for the dissident’s political activities,

18   and while in Wing 13, was clothed in a red prison uniform

19   indicating that he had been designated for execution and,

20   although N.S. was not executed, when N.S. was held in Wing 13,

21   prison officials and prison guards forcibly folded N.S.’s body

22   together on the Flying Carpet, fracturing his spine.

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                                        #:201


 1                                  COUNT FIVE

 2                            [18 U.S.C. § 1546(a)]

 3        27.   The Grand Jury realleges paragraphs 1 through 16 of

 4   this First Superseding Indictment here.

 5        28.   From on or about March 25, 2020, and continuing

 6   through on or about July 10, 2024, in Los Angeles County, within

 7   the Central District of California, and elsewhere, defendant

 8   SAMIR OUSMAN ALSHEIKH knowingly used, possessed, and obtained a

 9   document prescribed by statute and regulation for entry into and

10   as evidence of authorized stay and employment in the United

11   States, that is, a Permanent Resident Card (also known as an

12   “Alien Registration Receipt Card” and commonly referred to as a

13   “green card”), which defendant ALSHEIKH knew to have been

14   procured by means of false claims and statements in his DS-260

15   Immigrant Visa Application, namely:

16        False Statement 1: In response to the question: “Have you

17   ever committed, ordered, incited, assisted, or otherwise

18   participated in torture?”, defendant ALSHEIKH answered: “No,”

19   when, in fact, as defendant ALSHEIKH well knew, while he was the

20   head of Adra Prison from in or about 2005 and continuing through

21   in or about 2008, he had committed, ordered, incited, assisted,

22   and otherwise participated in the torture of prisoners at Adra

23   Prison.

24        False Statement 2: In response to the question: “Have you

25   committed, ordered, incited, assisted, or otherwise participated

26   in extrajudicial killings, political killings, or other acts of

27   violence?”, defendant ALSHEIKH answered: “No,” when, in fact, as

28   defendant ALSHEIKH well knew, while he was the head of Adra

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 1   Prison from in or about 2005 and continuing through in or about

 2   2008, he had committed, ordered, incited, assisted, and

 3   otherwise participated in acts of violence against prisoners at

 4   Adra Prison.

 5        False Statement 3: In response to the question: “Are you a

 6   member of or affiliated with the Communist or other totalitarian

 7   party?”, defendant ALSHEIKH answered: “No,” when, in fact, as

 8   defendant ALSHEIKH well knew, through the positions he held in

 9   the Syrian government, including as the head of Adra Prison and

10   the governor of Deir Ez-Zour, he was affiliated with the Syrian

11   Ba’ath Party, the totalitarian party that ruled Syria.

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                                        #:203


 1                                   COUNT SIX

 2                            [18 U.S.C. § 1425(a)]

 3        29.   The Grand Jury realleges paragraphs 1 through 16 of

 4   this First Superseding Indictment here.

 5        30.   On or about January 7, 2023, in Los Angeles County,

 6   within the Central District of California, and elsewhere,

 7   defendant SAMIR OUSMAN ALSHEIKH knowingly attempted to procure

 8   for himself, contrary to law, naturalization as a United States

 9   citizen, to which he was not entitled, by making materially

10   false statements under penalty of perjury in connection with his

11   naturalization application, namely:

12        False Statement 1: In response to the question: “Have you

13   EVER been a member of, involved in, or in any way associated

14   with, any organization, association, fund, foundation, party,

15   club, society, or similar group in the United States or in any

16   other location in the world?”, defendant ALSHEIKH answered:

17   “No,” when, in fact, as defendant ALSHEIKH then well knew,

18   through the positions he held in the Syrian government,

19   including as the head of Adra Prison and the governor of Deir

20   Ez-Zour, he was associated with the Syrian Ba’ath Party, the

21   totalitarian party that ruled Syria.

22        False Statement 2: In response to the question: “Have you

23   EVER been a member of, or in any way associated (either directly

24   or indirectly) with [a]ny . . . totalitarian party?”, defendant

25   ALSHEIKH answered: “No,” when, in fact, as defendant ALSHEIKH

26   then well knew, through the positions he held in the Syrian

27   government, including as the head of Adra Prison and the

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 1   governor of Deir Ez-Zour, he was associated with the Syrian

 2   Ba’ath Party, the totalitarian party that ruled Syria.

 3        False Statement 3: In response to the question: “Have you

 4   EVER persecuted (either directly or indirectly) any person

 5   because of race, religion, national origin, membership in a

 6   particular social group, or political opinion?”, defendant

 7   ALSHEIKH answered: “No,” when, in fact, as defendant ALSHEIKH

 8   then well knew, while he was the head of Adra Prison from in or

 9   about 2005 and continuing through in or about 2008, defendant

10   ALSHEIKH persecuted directly and indirectly persons because of

11   their political opinions.

12        False Statement 4: In response to the question: “Were you

13   EVER involved in any way with . . . [t]orture?”, defendant

14   ALSHEIKH answered: “No,” when, in fact, as defendant ALSHEIKH

15   then well knew, while he was the head of Adra Prison from in or

16   about 2005 and continuing through in or about 2008, defendant

17   ALSHEIKH was involved in the torture of prisoners.

18        False Statement 5: In response to the question: “Were you

19   EVER involved in any way with . . . [k]illing, or trying to

20   kill, someone?”, defendant ALSHEIKH answered: “No,” when, in

21   fact, as defendant ALSHEIKH then well knew, while he was the

22   head of Adra Prison from in or about 2005 and continuing through

23   in or about 2008, defendant ALSHEIKH was involved in the killing

24   of prisoners.

25        False Statement 6: In response to the question: “Were you

26   EVER involved in any way with . . . [b]adly hurting, or trying

27   to hurt, a person on purpose?”, defendant ALSHEIKH answered:

28   “No,” when, in fact, as defendant ALSHEIKH then well knew, while

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 1   he was the head of Adra Prison from in or about 2005 and

 2   continuing through in or about 2008, defendant ALSHEIKH was

 3   involved in badly hurting, and trying to hurt, prisoners on

 4   purpose.

 5        False Statement 7: In response to the question: “Were you

 6   EVER a member of, or did you EVER serve in, help, or otherwise

 7   participate in . . . [a p]olice unit?”, defendant ALSHEIKH

 8   answered: “No,” when, in fact, as defendant ALSHEIKH then well

 9   knew, he had served in a police unit in Syria.

10        False Statement 8: In response to the question: “Were you

11   EVER a worker, volunteer, or soldier, or did you otherwise EVER

12   serve in . . . [a p]rison or jail?”, defendant ALSHEIKH

13   answered: “No,” when, in fact, as defendant ALSHEIKH then well

14   knew, he worked as the head of Adra Prison.

15        False Statement 9: In response to the question: “Were you

16   EVER a worker, volunteer, or soldier, or did you otherwise EVER

17   serve in . . . [a d]etention facility (a place where people are

18   forced to stay)?”, defendant ALSHEIKH answered: “No,” when, in

19   fact, as defendant ALSHEIKH then well knew, he worked as the

20   head of Adra Prison, which was a detention facility where people

21   were forced to stay.

22        False Statement 10: In response to the question: “Were you

23   EVER a part of any group, or did you EVER help any group, unit,

24   or organization that used a weapon against any person, or

25   threatened to do so?” defendant ALSHEIKH answered: “No,” when,

26   in fact, as defendant ALSHEIKH then well knew, while he was the

27   head of Adra Prison, defendant ALSHEIKH was part of the Syrian

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 1   Interior Ministry, which used weapons against prisoners at Adra

 2   Prison.

 3        False Statement 11: In response to the question: “Have you

 4   EVER given any U.S. Government officials any information or

 5   documentation that was false, fraudulent, or misleading?”,

 6   defendant ALSHEIKH answered: “No,” when, in fact, as defendant

 7   ALSHEIKH then well knew, on or about April 19, 2018, defendant

 8   ALSHEIKH gave false, fraudulent, and misleading information when

 9   he stated on his DS-260 Immigrant Visa Application that he had

10   not “committed, ordered, incited, assisted, or otherwise

11   participated in extrajudicial killings, political killings, or

12   other acts of violence,” and that he was not “a member of or

13   affiliated with . . . [a] totalitarian party.”

14        False Statement 12: In response to the question: “Have you

15   EVER lied to any U.S. Government officials to gain entry or

16   admission into the United States or to gain immigration benefits

17   while in the United States?”, defendant ALSHEIKH answered: “No,”

18   when, in fact, as defendant ALSHEIKH then well knew, on or about

19   August 26, 2018, and on or about January 22, 2020, defendant

20   ALSHEIKH lied when he stated under oath that his DS-260

21   Immigrant Visa Application was true and correct, when, in fact,

22   it had been falsely stated on the application that he had not

23   “committed, ordered, incited, assisted, or otherwise

24   participated in extrajudicial killings, political killings, or

25   //

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 1   other acts of violence,” and that he was not “a member of or

 2   affiliated with . . . [a] totalitarian party.”

 3
                                              A TRUE BILL
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 5
                                              /S/
 6                                            Foreperson
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 8

 9   E. MARTIN ESTRADA                        NICOLE M. ARGENTIERI
     United States Attorney                   Principal Deputy Assistant
10                                            Attorney General
                                              Head of the Criminal Division
11                                            United States Department of
                                              Justice
12   LINDSEY GREER DOTSON
     Assistant United States Attorney         PATRICK JASPERSE
13   Chief, Criminal Division                 ALEXANDRA SKINNION
14                                            Trial Attorneys
     JOSHUA O. MAUSNER                        Human Rights and Special
15   Assistant United States Attorney         Prosecutions Section
     Chief, Violent and Organized             Criminal Division
16   Crime Section                            United States Department of
17                                            Justice

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